         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2023-1865
                  LT Case No. 2018-CA-003282
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ANDREA ALLEYNE,

    Appellant,

    v.

BANK OF NEW YORK MELLON f/k/a Bank of New York,
as Trustee for the Benefit of the Certificate Holders of
the CWABS, Inc., Asset-Backed Certificates, Series
2007-BC2, et al.
    Appellees.
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On appeal from the Circuit Court for Seminole County.
Nancy F. Alley, Judge.

Ryan Fojo, of The Ticktin Law Group, Deerfield Beach, for
Appellant.

Eric M. Levine, of Atlas Solomon, PLLC, Stuart, for Appellee
Bank of New York Mellon, etc.

No Appearance for Remaining Appellees.

                              August 27, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, BOATWRIGHT, and KILBANE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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